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EXHI`BIT A

ease 1:09-cv-00597-i_i\/ie-TCB Documem 41-2 Filed 10/23/09 Page 2 or 2 PaBe&E)# %'©17

Roth, Me|issa R.

From: isabel Nl Humphrey [isabe|@hhylaw.com]
Sent: Thursday, September 10, 2009 1126 PM
To: Dickinson, Nlichelle J.

Subject: Sony VA|O laptops

Nliche||e, in the process of reviewing documents for discovery, Joe realized that the Sohy VA|O |aptop he returned
to NE| was actually his personal laptop (an "exc|uded asset" under the SPA, Schedu|e 5.1), and the Sony VA|O
laptop he has in his possession is NEl's laptop. The laptops have identical specs, although the model numbers
are one digit off (NEl's is the newer model). Joe's personal laptop was replaced by Sony in October 2008 after
Sony was unable to repair it, and NEl‘s laptop wasn‘t even ordered until September 2008 (we're not sure when it
was received)l so at the time of Joe's suspension both were essentially identical and barely-used laptops that had
just arrived from Sony. Neverthe|ess, Joe would like to arrange an exchange of the |aptops. He will bring NEl's
laptop to my othce today. P|ease confirm that NE| still has Joe's personal |aptop and will turn it over to our firm in
exchange for the other one.

Regarding the desktop computer that NE| released to Chris Loomis, you told me there was "some question"
whether it was the same one listed in Schedule 5.1 and encouraged me to look into the matter. As there is only
one desktop computer ("Custom Desktop Computer") listed in the schedule (a|ong with "8 De|| Monitors"), and
there was only one desktop computer in Joe's office at NEl--which was a custom machine, was purchased by Joe
prior to the salel and was hooked up to 8 Del| monitors-please let me know on what grounds NE| maintains that
the computer Chris Loomis picked up was not Joe's computer.

isabel Nl. Hurnphrey. Esq.

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10/23/2009

